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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

 IN RE:                                                                CASE NO.: 8:19-bk-03039-RCT
                                                                                       CHAPTER 7
 Rodolfo Marin,
          Debtor.
 _________________________________/

                      MOTION FOR RELIEF FROM AUTOMATIC STAY
                          (Final Judgment of Foreclosure Obtained)

                                    NOTICE OF OPPORTUNITY TO
                                 OBJECT AND REQUEST FOR HEARING

             Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this
             paper without further notice or hearing unless a party in interest files a response
             within twenty-one (21) days from the date set forth on the attached proof of service,
             plus an additional three days for service if any party was served by U.S. Mail.

             If you object to the relief requested in this paper, you must file a response with the
             Clerk of the Court at Sam M. Gibbons United States Courthouse, 801 N. Florida
             Avenue, Suite 555, Tampa, Florida 33602 and serve a copy on the movant’s
             attorney, Attorney for Secured Creditor, at Robertson, Anschutz & Schneid, PL,
             6409 Congress Ave., Suite 100, Boca Raton, FL 33487, and any other appropriate
             persons within the time allowed. If you file and serve a response within the time
             permitted, the Court will either schedule and notify you of a hearing, or consider the
             response and grant or deny the relief requested without a hearing.

             If you do not file a response within the time permitted, the Court will consider that
             you do not oppose the relief requested in the paper, will proceed to consider the
             paper without further notice or hearing, and may grant the relief requested.

       Secured Creditor, HSBC Bank USA, National Association as Trustee for Structured

Adjustable Rate Mortgage Loan Trust, Mortgage Pass-Through Certificates, Series 2007-9, by

and through the undersigned counsel, hereby moves this Court, pursuant to 11 U.S.C. § 362(d),

for a modification of the automatic stay provisions for cause, and, in support thereof, states the

following:




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1. Debtor(s), Rodolfo Marin, filed a voluntary petition pursuant to Chapter 7 of the United

   States Bankruptcy Code on April 3, 2019

2. Jurisdiction of this cause is granted to the Bankruptcy Court pursuant to 28 U.S.C.

   § 1334, 11 U.S.C. § 362(d), Fed. R. Bankr. P. 4001(a), and all other applicable rules and

   statutes affecting the jurisdiction of the Bankruptcy Courts generally.

3. Secured Creditor hereby waives the requirements of 11 U.S.C. § 362(e). The automatic

   stay of any act against property of the estate under § 362(a) shall continue until this Court

   orders or the stay is otherwise terminated by operation of law.

4. Secured Creditor filed a foreclosure complaint against the Debtor(s) in the Circuit Court

   for the Twelfth Judicial Circuit in and for Manatee County, Case Number:

   41-2016-CA-003041, due to the default under the terms of the Note and Mortgage

   securing Secured Creditor’s interest in certain real property legally described as:

   LOT 185, RIVER PLACE, A SUBDIVISION, ACCORDING TO THE PLAT
   THEREOF AS RECORDED IN PLAT BOOK 42, PAGES 173 THRU 198, OF THE
   PUBLIC RECORDS OF MANATEE COUNTY, FLORIDA.
   This property is located at the street address of: 6987 74th St Cir E Bradenton, FL 34203.

5. A Final Judgment of Foreclosure (“Judgment”) was entered against the Debtor(s) on

   April 12, 2018, in the amount of $659,140.82. A true and accurate copy of the Judgment

   attached hereto as Exhibit “A.” The Judgment has not been satisfied by the Debtor(s).

6. The appraised value of the property is $426,288.00. See Exhibit “B” which is attached

   hereto and permissible as a property valuation under Fed. R. Evid. 803(8).

7. Based upon the Debtor(s)’ schedules, the property is listed non-exempt. The Trustee has




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   not abandoned the property.

8. Secured Creditor’s security interest in the subject property is being significantly

   jeopardized by Debtor(s)’ failure to comply with the terms of the subject loan documents

   while Secured Creditor is prohibited from pursuing lawful remedies to protect such

   interest. Secured Creditor has no protection against the erosion of its collateral position

   and no other form of adequate protection is provided.

9. If Secured Creditor is not permitted to enforce its security interest in the collateral or be

   provided with adequate protection, it will suffer irreparable injury, loss, and damage.

10. Secured Creditor respectfully requests the Court grant it relief from the Automatic Stay in

   this cause pursuant to §362(d)(1) of the Bankruptcy Code, for cause, namely the lack of

   adequate protection to Secured Creditor for its interest in the above stated collateral. The

   value of the collateral is insufficient in and of itself to provide adequate protection which

   the Bankruptcy Code requires to be provided to the Secured Creditor. Secured Creditor

   additionally seeks relief from the Automatic Stay pursuant to §362(d)(2) of the

   Bankruptcy Code, as the collateral is unnecessary to an effective reorganization of the

   Debtor’s assets.

11. Once the stay is terminated, the Debtor will have minimal motivation to insure, preserve,

   or protect the collateral; therefore, Secured Creditor requests that the Court waive the

   14-day stay period imposed by Fed.R.Bankr.P. 4001(a)(3).

12. Secured Creditor has incurred court costs and attorney’s fees in this proceeding and will

   incur additional fees, costs and expenses in foreclosing the Mortgage and in preserving



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       and protecting the property, all of which additional sums are secured by the lien of the

       mortgage. Secured Creditor seeks an award of its reasonable attorneys’ fees and costs, or

       alternatively, leave to seek recovery of its reasonable attorneys’ fees and costs in any

       pending or subsequent foreclosure proceeding.

   13. A Proposed Order accompanies this Motion. See Exhibit “C” attached hereto.

       WHEREFORE, Secured Creditor, prays this Honorable Court enter an order modifying

the automatic stay under 11 U.S.C. § 362(d) to permit Secured Creditor to take any and all steps

necessary to exercise any and all rights it may have in the collateral described herein, to gain

possession of said collateral, to waive the 14-day stay imposed by Fed.R.Bankr.P. 4001(a)(3), to

seek recovery of its reasonable attorneys’ fees and costs incurred in this proceeding, and to any

such further relief as this Honorable Court deems just and appropriate.

Date: April 19, 2019

                                             ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                             Attorney for Secured Creditor
                                             6409 Congress Ave., Suite 100
                                             Boca Raton, FL 33487
                                             Telephone: 561-241-6901
                                             Facsimile: 561-241-1969

                                             By: /s/ Nathalie Rodriguez_______________
                                             Nathalie Rodriguez, Esquire
                                             Florida Bar Number: 125114
                                             Email: nrodriguez@rasflaw.com




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                               CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on April 19, 2019, I electronically filed the foregoing with

the Clerk of Court by using the CM/ECF system, and a true and correct copy has been served via

CM/ECF or United States Mail to the following parties:

Rodolfo Marin
4516 62 Ave East
Bradenton, FL 34203

David Smith
Law Office of David W Smith, PL
5020 Clark Rd, Ste 412
Sarasota, FL 34233

Beth Ann Scharrer
PO Box 4550
Seminole, FL 33775

United States Trustee - TPA7/13
Timberlake Annex, Suite 1200
501 E Polk Street
Tampa, FL 33602

                                           ROBERTSON, ANSCHUTZ & SCHNEID, P.L.
                                           Attorney for Secured Creditor
                                           6409 Congress Ave., Suite 100
                                           Boca Raton, FL 33487
                                           Telephone: 561-241-6901
                                           Facsimile: 561-241-1969

                                           By: /s/ Nathalie Rodriguez_______________
                                           Nathalie Rodriguez, Esquire
                                           Florida Bar Number: 125114
                                           Email: nrodriguez@rasflaw.com




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                  EXHIBIT “A”
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                   EXHIBIT “B”
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                   EXHIBIT “C”
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                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION
                               www.flmb.uscourts.gov

 IN RE:                                                    CASE NO.: 8:19-bk-03039-RCT
                                                                           CHAPTER 7
 Rodolfo Marin,
      Debtor.
 _________________________________/




             ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

       THIS CASE came on consideration without a hearing on HSBC Bank USA, National
Association as Trustee for Structured Adjustable Rate Mortgage Loan Trust, Mortgage
Pass-Through Certificates, Series 2007-9’s (“Secured Creditor”) Motion for Relief from Stay
(Docket No. ___). No appropriate response has been filed in accordance with Local Rule
2002-4. Accordingly, it is:




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       ORDERED:
   1. Secured Creditor’s Motion for Relief from Automatic Stay is GRANTED.
   2. The automatic stay imposed by 11 U.S.C. § 362 is terminated as to the Secured Creditor’s
       interest in the following property located at 6987 74th St Cir E Bradenton, FL 34203 in
       Manatee County, Florida, and legally described as:
       LOT 185, RIVER PLACE, A SUBDIVISION, ACCORDING TO THE PLAT
       THEREOF AS RECORDED IN PLAT BOOK 42, PAGES 173 THRU 198,
       OF THE PUBLIC RECORDS OF MANATEE COUNTY, FLORIDA.
   3. The Order Granting Relief from Stay is entered for the sole purpose of allowing Secured
       Creditor to exercise any and all in rem remedies against the property described above.
       Secured Creditor shall not seek an in personam judgment against Debtor(s).
   4. Secured Creditor is further granted relief in order to contact the Debtor(s) by telephone or
       written correspondence in order to discuss the possibility of a forbearance agreement,
       loan modification, refinance agreement or loan workout/loss mitigation agreement.
   5. The Secured Creditor’s request to waive the 14-day stay period pursuant to Bankruptcy
       Rule 4001(a)(3) is granted.
   6. Attorneys’ fees in the amount of $345.00 and costs in the amount of $181.00 are awarded
       for the prosecution of this Motion for Relief from Stay, but are not recoverable from the
       Debtor(s) or the Debtor(s)’ Bankruptcy estate.}
   7. This Court makes no determination that the Debtor has defaulted on the underlying
       obligation.


                                              ###
Attorney, Nathalie Rodriguez, is directed to serve a copy of this order on interested parties and
file a proof of service within 3 days of entry of the order.




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